         Case 1:19-cr-00373-PGG Document 307 Filed 11/13/20 Page 1 of 2
                                          U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       November 13, 2020

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti,
               S1 19 Cr. 373 (PGG)

Dear Judge Gardephe:

      The Government respectfully submits this letter in opposition to defendant Michael
Avenatti’s motion for a fourth, 60-day adjournment of his sentencing (Dkt. No. 306).

         The defendant was convicted, following a jury trial, of extortion, transmitting interstate
communications with intent to extort, and honest services wire fraud on February 14, 2020. At
that time, sentencing was set for June 17, 2020. (Dkt. No. 266.) On May 18, 2020, the defendant
moved, with consent of the Government and in light of the COVID-19 pandemic, for a 60-day
adjournment of his sentencing (Dkt. No. 296), which the Court granted, setting sentencing for
August 19, 2020 (Dkt. No. 297). On July 15, 2020, the defendant moved for a second adjournment
in light of the pandemic, and the Government took no position. (Dkt. No. 298.) The Court granted
the defendant’s motion, and set sentencing for October 7, 2020. (Dkt. No. 300.) On September 7,
2020, the defendant moved for a third adjournment, without objection from the Government and
again in light of the pandemic. (Dkt. No. 306.) The Court granted that motion, and adjourned
sentencing to December 7, 2020. (Dkt. No. 304.)

        The defendant now seeks a fourth, 60-day adjournment. The Government opposes this
request. The Government has communicated with counsel for each victim, and has learned that
both wish for the defendant to be sentenced without further delay. See 18 U.S.C. § 3771. The
Government recognizes and appreciates the logistical challenges posed by the COVID-19
pandemic. However, the Court has put in place a rigorous protocol to ensure the safety of visitors
to the courthouse. Criminal jury trials have resumed in this District pursuant to that protocol, and
a number of defendants have been sentenced in person. Considering all of the facts and
circumstances of this case and, in particular, the interests of the victims and the public in finality,
cf. United States v. Gambino, 59 F.3d 353, 360 (2d Cir. 1995) (“the public is the loser when a
        Case 1:19-cr-00373-PGG Document 307 Filed 11/13/20 Page 2 of 2

Honorable Paul G. Gardephe
United States District Judge
November 13, 2020
Page 2

criminal trial is not prosecuted expeditiously”), the Government submits that sentencing should
proceed in December 2020. 1

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   Acting United States Attorney

                                            By:    s/ Matthew D. Podolsky
                                                   Matthew D. Podolsky
                                                   Daniel C. Richenthal
                                                   Robert B. Sobelman
                                                   Assistant United States Attorneys
                                                   (212) 637-1947/2109/2616

cc:    (by ECF)

       Counsel of Record




1
        As defense counsel notes their letter, the Government does not object to the defendant’s
request for an adjournment of sentencing from December 9, 2020 to December 21 or 22, 2020.
Such a modest adjournment would permit additional time to work out any logistical matters,
although the Government does not believe that more time is necessary. Additionally, the
Government would consider a request to proceed remotely, though the defendant has not made
such a request.
